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                  EXHIBIT 21
                                                                Case 1:11-cv-07550-GBD-SN Document 372-21 Filed 03/03/22 Page 2 of 4
     February 26, 2022 | 4:07 pm                             Children ages 5+ are eligible for the COVID-19 vaccine and
                                                                                                                                                         VAX FOR KIDS #
     COVID-19 Vaccines                                       children ages 12+ are eligible for a booster. Parents and
                                                             guardians: make sure your child gets vaccinated and stays up to
                                                             date with all recommended doses.



                                      Services      News             Government               COVID-19 Vaccine                                                  " Search   !


                                                                    Department of State
                                                                       Division of Corporations

                                                                               Entity Information

                                                                           Return to Results        Return to Search

                                                                                                                                                                           !
 Entity Details

ENTITY NAME: OAKTREE CAPITAL MANAGEMENT, L.P.                                                     DOS ID: 3549543
FOREIGN LEGAL NAME:                                                                               FICTITIOUS NAME:
ENTITY TYPE: FOREIGN LIMITED PARTNERSHIP                                                          DURATION DATE/LATEST DATE OF DISSOLUTION:
SECTIONOF LAW: 121-902 LPA - PARTNERSHIP LAW                                                      ENTITY STATUS: ACTIVE
DATE OF INITIAL DOS FILING: 07/30/2007                                                            REASON FOR STATUS:
EFFECTIVE DATE INITIAL FILING: 07/30/2007                                                         INACTIVE DATE:
FOREIGN FORMATION DATE: 03/14/1995                                                                STATEMENT STATUS:
COUNTY: NEW YORK                                                                                  NEXT STATEMENT DUE DATE:
JURISDICTION: DELAWARE, UNITED STATES                                                             NFP CATEGORY:



                                       ENTITY DISPLAY       NAME HISTORY          FILING HISTORY         MERGER HISTORY           ASSUMED NAME HISTORY



 Service of Process Name and Address

  Name: CORPORATION SERVICE COMPANY

  Address: 80 STATE STREET, ALBANY, NY, UNITED STATES, 12207 - 2543



 Chief Executive Officer's Name and Address

  Name:

  Address:



 Principal Executive Office Address

  Address:



 Registered Agent Name and Address

  Name: C/O CORPORATION SERVICE COMPANY

  Address: 80 STATE STREET, ALBANY, NY, 12207 - 2543



 Entity Primary Location Name and Address

  Name:

  Address:



 Farmcorpflag

  Is The Entity A Farm Corporation: NO


 Stock Information


    Share Value                                         Number Of Shares                                                               Value Per Share




                                   Agencies                       App Directory                    Counties                            Events            Programs

                                   Services
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Search:         Public Records : Corporation Filings
Terms:          company(oaktree capital group) state(NY)




No.   Business Name        Address              Business Type     Filing Information     Jurisdiction

1     OAKTREE CAPITAL                           FOREIGN LIMITED   Name Type: LEGAL     New York
      GROUP, LLC                                LIABILITY         Foreign Filing Date: Secretary of State
                                                COMPANY           05/16/2007
                                                                  Registration Number:
                                                                  3518195
                                                                  Status: ACTIVE
                                                                  Record Type: CURRENT



2     OAKTREE CAPITAL                           FOREIGN LIMITED   Name Type: LEGAL     New York
      GROUP HOLDINGS,                           PARTNERSHIP       Foreign Filing Date: Secretary of State
      L.P.                                                        08/23/2012
                                                                  Registration Number:
                                                                  4287147
                                                                  Status: ACTIVE
                                                                  Record Type: CURRENT



3     OAKTREE CAPITAL                           FOREIGN LIMITED   Name Type: LEGAL     New York
      GROUP HOLDINGS                            LIABILITY         Foreign Filing Date: Secretary of State
      GP, LLC                                   COMPANY           05/28/2013
                                                                  Registration Number:
                                                                  4409238
                                                                  Status: ACTIVE
                                                                  Record Type: CURRENT



4     OAKTREE CAPITAL I,                        FOREIGN LIMITED   Name Type: LEGAL     New York
      L.P.                                      PARTNERSHIP       Foreign Filing Date: Secretary of State
                                                                  08/23/2012
                                                                  Registration Number:
                                                                  4287139
                                                                  Status: ACTIVE
                                                                  Record Type: CURRENT



14    OAKTREE CAPITAL                           FOREIGN LIMITED   Name Type: LEGAL     New York
      MANAGEMENT                                PARTNERSHIP       Foreign Filing Date: Secretary of State
      (CAYMAN) L.P.                                               08/23/2012
                                                                  Registration Number:
                                                                  4287150
                                                                  Status: ACTIVE
                                                                  Record Type: CURRENT
           Case 1:11-cv-07550-GBD-SN Document 372-21 Filed 03/03/22 Page 4 of 4
                                                                                                          Page 2 of 2


No.     Business Name            Address                   Business Type         Filing Information   Jurisdiction




Terms:               company(oaktree capital group) state(NY)
Date/Time:           Wednesday, February 23, 2022 4:24 PM
Permissible Use:     Your DPPA Permissible Use: Litigation
                     Your GLBA Permissible Use: Legal Compliance



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